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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                      *

         V.                                   *                     Cr. No. GLR-20-092

AVERY HAWKINS                        *

           Defendant                          *
           *
For: AVERY HAWKINS                       *

                         MOTION TO SUPPRESS EVIDENCE

    Avery Hawkins, by his undersigned counsel, hereby moves this Honorable Court to

exclude from evidence in this case a gun seized from his person on September 26, 2019,

due to violations of his Fourth Amendment rights and as grounds states:

    1.    On September 26, 2019, was arrested by five Baltimore City police officers as

          the defendant attempted to run out of a beauty shop in East Baltimore.

    2.    The arrest was made without a warrant.

    3.    The arrest was made without probable cause and was made in violation of Mr.

          Hawkins’ Fourth Amendment rights.        Beck v. Ohio, 379 U.S. 89, 96 (1984) and

          Wong Sun v. United States, 371 U.S. 471, 479 (1963).

    4.    Incident to the arrest, his pockets were searched.

    5.    The search was made without a warrant.

    6.    The search was made without probable cause and was a violation of his Fourth

          Amendment rights.     Wong Sun, id.

    7.    The search resulted in the discovery of a weapon.
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    8.   Because the seizure of the weapon resulted from violations of Mr. Hawkins’

         Constitutional rights, it must be suppressed and excluded from evidence at the

         trial of this matter.   Id.

    9.   A legal memorandum in further support of this motion will be filed in short

         order.

         WHEREFORE, Avery Hawkins moves this Honorable Court to exclude from

    evidence in this case a gun seized from his person on September 26, 2019

                                       Respectfully submitted,

                                         _______/s/__________________
                                         Richard Bardos, of Counsel
                                         Schulman, Hershfield & Gilden, P.A.
                                         1 East Pratt Street, 9th Floor
                                         Baltimore, Maryland 21202
                                         (410) 332 0850


                                 CERTIFICATE OF SERVICE

    I HEREBY CERTIFY that on this 6th of August, 2020, a copy of the foregoing
Motion was served electronically by ECF to: Office of the United States Attorney, 36
South Charles Street, Fourth Floor, Baltimore, Maryland 21201.

                                  _____/s/______________________
                                  Richard Bardos
